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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

 A# -roJJ pug, ff MA


     (Jn the space above enter the fall name(s) of the plaintiff(s).)




                                                                                                         AUG 2 1 2017
                                                                                                      KATE BARKMAN, Clem
                                                                                                    By           Dep. Clerk



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(In the space above enter the full name(s) of the defendant(s). Ifyou
cannot fit the names of all of the defendants in the space provided,
please write "see attached" in the space above and attach an
                                                                             1tJ    )U}'j>D~/ 111,~&r
additional sheet ofpaper with the fall list of names. The names
listed in the above caption must be identical to those contained in
Part 1 Addresses should not be included here.)

I.          Parties in this complaint:

A.          List your name, address and telephone number. If you are presently in custody, include your identification
            number and the name and address of your current place of confinement. Do the same for any additional
            plaintiffs named. Attach additional sheets of paper as necessary.


Plaintiff           Name
                     Street Address                3'10 NIN~H AV~t/U~
                    County, City
                    State & Zip Code                lifivJ 'f_ol.K       /000/


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B.       List all defendants. You should state the full name of the defendants, even ifthat defendant is a government
         agency, an organization, a corporation, or an individual. Include the address where each defendant can be
         served. Make sure that the defendant(s) listed below are identical to those contained in the above caption.
         Attach additional sheets of paper as necessary.                                                    ~


DefendantNo.1                        Name      Cl -{y       1Jf ~JIJLA)£l.PHJA :CGJ/Y~
                                     StreetAddress       / ) / ) AA.CH 5/&J!P.z
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                                                                                  /lf-Jll': (/,¢~
                                     County, City       ~HJlAbtl/'HJA 1     P/.ULAb~L.~#IA
                                     State & Zip Code      "Ptf/N ~ Yl V:4t/IA / 1/0 'f. - / $"'f                 'J
Defendant No. 2                      Name    MJC,/jA/t/_ .Jbf£!H MOR..R.Jif (~ 'BA}>l,P,./f/30
                                     Street Address '}-        ~   ))'   MA&/<.J!,.(' ffRt/£f
                                                   PHJl.-.Ab(/..fJ/i~ 'PJJJJ.&pil,)/-/JA
                                                           ifljf 30,P!· frRL~r ft 11&J/'Jv
                                     County, City
                                     State & Zip c;.<''       f Yl 'lf/'l/lt /1JO
                                                    4..tft-1
Defendant No. 3                      Name     AtJTMK C.O/J../'0&11'"/e?I_{ ¢/AMTUk_~
                                     Street Address ' 0 /1ft { )/f CHU!~'-.  A V£/{f//t,/ t/~
                                     County, City    WA f J//N6; 1?J/V, ,                     . }
                                     State & Zip Code bifr&JC/ of COl-Ul1811r 1--00 0,... - 't rl


Defendant No. 4                      Name    &/CHA&b Adj&lfCJ;/ ~P~f//)£/a/r C/!P'                                  1
                                     Street Addre'" GO 1'11.f51tC(jf/{&Tf AVMU~ NF
                                     County, City   WA f /full, 'OJ.
                                     state&ZipCode             bJff'K.ll~     &/!:' ColV!1iJIA           l:~CJ()r-'f~S

II.      Basis for Jurisdiction:

Federal courts are courts of limited jurisdiction. Only two types of cases can be heard in federal court: cases
involving a federal question and cases involving diversity ofcitizenship of the parties. Under 28 U.S.C. § 1331, a
case involving the United States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. §
1332, a case in which a citizen of one state sues a citizen of another state and the amount in damages is more than
$75,000 is a diversity of citizenship case.

A.       What is the basis for federal court jurisdiction? (check all that apply)
         k Federal Questions                   Q Diversity of Citizenship
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             C.       If the basis for jurisdiction is Diversity of Citizenship, what is the state of citizenship of each party?

                      Plaintifi{s) state(s) of citizenship _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                      Defendant(s) state(s) of citizenship _ _ _ _ _ _ _ _ _ _ _ _ _ __

             III.     Statement of Claim:

             State as briefly as possible the facts of your case. Describe how each of the defendants named in the caption of this
             complaint is involved in this action, along with the dates and locations of all relevant e;vents. You may wish to




             A.       Where did the events giving rise to   yo~mfu.~ur? '3 0 J!;.                       5~&~ r ~-J,+fi&.
                                                                                                                        w
             include further details such as the names of other persons involved in the events giving rise to your claims. Do not
             cite any cases or statutes. If you intend to allege a number of related claims, number and set forth each claim in a
             separate paragraph. Attach additional sheets of paper as necessK.



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                                            /WtWfbel-fHIA.I PA 11tO'f




   What
 happened
  to you?




  Who did
   what?




'--Was
  anyone
    else
 involved?




 Who else
 saw what
 happened?
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V.        Relief:


State what you want the Court to do for you and the amount of monetary compensation, if any, you are seeking, and

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_ _ _ _ _ _ _ _ _ ____, 1/JA)
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                                                                                                                    y


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I declare under penalty of perjury that the foregoing is true and correct.


Signed this    /1._~               ~
                   day of__._A~U_o,_LJ_S_~+---------, 2ofl_.
                              /




Note:      All plaintiffs named in the caption of the complaint must date and sign the complaint. Prisoners must also
           provide their inmate numbers, present place of confinement, and address.


For Prisoners:

I declare under penalty of perjury that on this _ _ day of                                , 20_ _, I am delivering
this complaint to prison authorities to be mailed to the Clerk's Office of the United States District Court for the
Eastern District of Pennsylvania.



                                                  Signature of Plaintiff: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                        Inmate Number _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




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                                                                                           CLOSED,SPECIAL

                                   United States District Court
                          Eastern District of Pennsylvania (Philadelphia)
                        CIVIL DOCKET FOR CASE#: 2:16-cv-05628-LDD
                                        Internal Use Only


 PURISIMA v. CITY OF PHILADELPHIA et al                               Date Filed: 10/27/2016
 Assigned to: HSNORABLE LEGROME D. DAVIS                              Date Terminated: 11108/2016
 Cause: 42:1983 Civil Rights Act        '                             Jury Demand: Plaintiff
                                                                      Nature of Suit: 440 Civil Rights: Other
                                                                      Jurisdiction: Federal Question
 Plaintiff
 ANTON PURISIMA                                         represented by ANTON PURISIMA
                                                                       390 9TH A VENUE
                                                                      ·NEW YORK, NY 10001
                                                                       PROSE


 V.
 Defendant
 CITY OF PIDLADELPIDA
 (CITY)
 Defendant
MICHAEL JOSEPH MORRISSEY
 Defendant
 AMTRAK POLICE DEPARTMENT

 (APD)
 Defendant
DOES 1-1.3 BILLION

                            ',


 Date Filed             #            Docket Text
 10/27/2016                      l   APPLICATION TO PROCEED IN FORMA PAUPERIS FILED BY
                                     ANTON PURISIMA. (Attachments: # l Complaint, # ~ Civil Cover Sheet,
                                     (Additional attachment(s) added on 1111/2016: # l Attachment,# .1
                                     Attachment 2, # 2. Attachment 3, # Q. Attachment 4) Gmv, ). (Entered:
                                     10/31/2016)
 10/27/2016      ~                   (Court only) ***Set/Clear Flags Set Flag Special Case Management Track
                                     Gmv,) (Entered: 10/31/2016)
                                                               '




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  11/08/2016            2   ORDER THAT PLAINTIFF'S MOTION TO PROCEED IN FORMA
                            PAUPERIS IS GRANTED. PLAINTIFF SHALL, WITHIN THIRTY (30)
                            DAYS, FILE AN AMENDED COMPLAINT AS OUTLINED HEREIN.
                            UPON THE FILING OF AN AMENDMENT, THE CLERK SHALL NOT
                            MAKE SERVICE UNTIL SO ORDERED BY THE COURT. THE
                            CLERK OF COURT SHALL CLOSE THIS CASE FOR STATIATICAL
                            PURPOSES. SIGNED BY HONORABLE LEGROME D. DAVIS ON
                            11/8/2016. 11/8/2016 ENTERED AND COPIES MAILED TO PRO SE.
                            (amas) (Entered: 11/08/2016)

  11/08/2016           1    COMPLAINT against AMTRAK POLICE DEPARTMENT, CITY OF
                            PHILADELPHIA, DOES 1 -1.3 BILLION, MICHAEL JOSEPH
                            MORRISSEY, filed by ANTON PURISIMA.(amas) (Entered: 11/08/2016)
  11/08/2016
                  ~         (Court only) ***Deadlines terminated., ***Documents terminated: J
                            Complaint filed by ANTON PURISIMA., ***Motions terminated: J.
                            Complaint filed by ANTON PURISIMA. (amas) (Entered: 11/08/2016)

  11/08/2016
                  ~         (Court only) ***Civil Case Terminated. (sf,) (Entered: 11/08/2016)

  12/12/2016           1    LETTER TO THE COURT; FROM ANTON PURISIMA; DATED
                            12/7/2016; RE: REQUEST FOR EXTENSION OF TIME. (amas)
                            (Entered: 12/12/2016)

  12/12/2016            5   ORDER THAT PLAINTIFF'S REQUEST IS GRANTED AND
                            PLAINTIFF SHALL FILE AN AMENDED COMPLAINT ON OR
                            BEFORE 2/10/2016. SIGNED BY HONORABLE LEGROME D. DAVIS
                            ON 12/12/2016. 12/12/2016 ENTERED AND COPIES MAILED TO PRO
                            SE.(amas) (Entered: 12/12/2016)
 02/09/2017            fi   REQUEST FOR ADDITIONAL 30 DAYS TO FILE AMENDED
                            COMPLAINT (SECOND REQUEST) by ANTON PURISIMA. (aeg)
                            (Entered: 02/09/2017)
 03/22/2017            1 ORDER THAT PLAINTIFF'S REQUEST IS GRANTED AND
                            PLAINTIFF SHALL FILE HIS AMENDED COMPLAINT ON OR
                            BEFORE 4/11/2017. SIGNED BY HONORABLE LEGROME D. DAVIS
                            ON 3/21/2017. 3/22/2017 ENTERED AND COPIES MAILED TO PRO
                            SE.(amas) (Entered: 03/22/2017)
 04/18/2017            ~    ORDER THAT PLAINTIFF'S REQUEST IS GRANTED AND
                            PLAINTIFF SHALL FILE AN AMENDED COMPLAINT ON OR
                            BEFORE 5/8/2017. SIGNED BY HONORABLE LEGROME D. DAVIS
                            ON 4/17/2017. 4/18/2017 ENTERED AND COPIES MAILED TO PRO
                            SE.(amas) (Entered: 04/18/2017)
 05/08/2017            2 AMENDED COMPLAINT against AMTRAK POLICE DEPARTMENT,
                            CITY OF PHILADELPHIA, DOES 1 -1.3 BILLION, MICHAEL JOSEPH
                            MORRISSEY, filed by ANTON PURISIMA.(amas) (Entered: 05/09/2017)
 05/10/2017           10    ORDER THAT PLAINTIFF'S AMENDED COMPLAINT IS DISMISSED
                            WITH LEAVE TO FILE A SECOND AMENDED COMPLAINT
                            WITHIN THIRTY (30) DAYS OF THE DATE OF THIS ORDER, AS



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                              OUTLINED HEREIN. THIS CASE SHALL REMAIN CLOSED FOR
                              STTISTICAL PURPOSES. SIGNED BY HONORABLE LEGROME D.
                              DAVIS ON 5/9/2017. 5/10/2017 ENTERED AND COPIES MAILED TO
                              PRO SE.(amas) (Entered: 05/10/2017)
  05110/2017
                  Iii         (Court only) ***Documents terminated: 2. Amended Complaint filed by
                              ANTON PURI SIMA. (amas ) (Entered: 05/1012017)
  07/17/2017            'll   REQUEST FOR PRO BONO COUNSEL, BY ANTON PURISIMA.
                              (amas) (Entered: 07/17/2017)
  07/17/2017            12    REQUEST ANOTHER SIXTY (60) DAYS TO FILE SECOND
                              AMENDED COMPLAINT, BY ANTON PURJSIMA. (amas) (Entered:
                              07/17/2017)
  07/18/2017            13    ORDER THAT PLAINTIFF'S REQUEST FOR PRO BONO COUNSEL
                              (DOC. NO. l l ), IS DENIED AS OUTLINED HEREIN. SIGNED BY
                              HONORABLE LEGROME D. DAVIS ON 7/18/2017. 7/18/2017
                              ENTERED AND COPIES MAILED TO PRO SE.(amas) (Entered:
                              07/18/2017)
  07118/2017            14    ORDER THAT PLAINTIFF'S MOTION FOR A 60-DAY EXTENSION
                              (DOC. NO. 12 ), IS GRANTED IN PART AND DENIED IN PART. THE
                              COURT WILL GRANT A 30-DAY EXTENSION OF THE DEADLINES
                              FOR FILING A SECOND AMENDED COMPLAINT. PLAINTIFF
                              MUST FILE HIS SECOND AMENDED COMPLAINT ON OR BEFORE
                              8/17/2017. SIGNED BY HONORABLE LEGROME D. DAVIS ON
                              7/18/2017. 7/18/2017 ENTERED AND COPIES MAILED TO PRO SE.
                              (amas) (Entered: 07 /18/2017)




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